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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------X
JENNIFER BERKELEY CARR,
                                                                       DOCKET NO. 16-CV-
                                      Plaintiff,                            09957

                    -against-
                                                                       Hon. Deborah A. Batts
NEW YORK CITY TRANSIT AUTHORITY, MARVA
BROWN AND DAVID CHAN,

                                      Defendants.

 ------------------------------------------------------------------X

         MEMORANDUM OF LAW IN FURTHER SUPPORT OF DEFENDANTS’
          MOTION FOR SUMMARY JUDGMENT PURSUANT TO F.R.C.P 56




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                                      PRELIMINARY STATEMENT

        In response to Defendants’ motion for summary judgment, Plaintiff submits her own

duplicative declaration, and the largely inadmissible and otherwise immaterial declarations of

former employees.        These declarations merely contain self-serving and self-aggrandizing

statements, which utterly fail to support any of Plaintiff’s claims in this case or create a genuine

material issue of fact for a trial.

        First, and as detailed below, there is not a scintilla of evidence in this record to support an

inference of age, race and/or gender discrimination against the Defendants, let alone refute the

Defendants’ legitimate, non-discriminatory reasons for selecting two highly qualified candidates

and longer-standing TA employees Joseph DiLorenzo (age 54) and David Chan (age 55) for two

positions in the TA’s Department of Capital Programs, Division of Subways. Vice President and

Chief Officer, Capital Programs, Subways, Marva Brown (59 year-old African-American female)

selected these candidates based on, among other things, their resumes, experience, technical

backgrounds and with input from two respective interview panels. Plaintiff does not dispute either

selected candidate’s qualifications for the positions, nor does she offer any evidence of

discriminatory animus; rather, she continues to emphasize her own qualifications, seeks to

undermine the promotion and 12% raise Defendant Brown obtained for her two years prior to these

decisions (see Plaintiff’s Response to 56.1 Statement [“Pl Resp.”] ¶24-27]), and proffers baseless,

self-serving pattern and practice theories that are immaterial to and improperly raised in this case.

        Second, there is insufficient evidence from which a reasonable juror could conclude that

retaliation was the “but-for” cause of any job action taken with respect to Plaintiff. The undisputed

facts demonstrate that consummate with overall “Good” reviews by Chan for the years 2014 and

2015 immediately following her internal complaint of discrimination in September 2014 and

external complaints received in October 2015 (see Defendants’ 56.1 Statement, Ex’s FF, OO, F,
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H), Plaintiff received general wage increases (“GWI”) in 2015 and 2016 (see Ex’s L, NN).1 The

facts show that to the extent there were, as Plaintiff argues, “adverse employment” actions taken

against her, such as, arguendo, her receipt of a “Needs Improvement” review in April 2017 (Ex

SS), and Brown’s decision in 2017 not to recommend Plaintiff for permanent civil service status

in the title of “Administrative Staff Analyst”, such actions came years after Defendants became

aware that Plaintiff engaged in protected activity, repudiating any inference of retaliatory animus.

Plaintiff has otherwise failed to allege any facts or provide evidence suggesting that Defendants’

legitimate, non-discriminatory reasons for any of its actions over the course of three years,

including, among other things, Plaintiff’s failure to timely complete or make meaningful progress

on important projects, her refusal to keep her managers apprised of information, and her at times

disrespectful conduct, were mere pretexts for discrimination or retaliation, nor has she alleged or

proffered any evidence of disparate treatment.

        In sum, Plaintiff is asking this Court to second guess Brown’s clearly legitimate, non-

discriminatory business judgments, and to conclude that Plaintiff was in fact was the better

candidate for the job for which Chan was selected – this is emphatically not the role of the courts.

Further, even assuming, arguendo, that Chan is a challenging and demanding manager, as Plaintiff

appears to be trying to establish, it has been widely held that it is not the role of the courts, for

good reason, to enforce general civility codes in the workplace or to punish difficult bosses. This

is precisely the type of case wherein summary judgment is appropriate.

                                  I.
          PLAINTIFF’S MEMORANDUM OF LAW SHOULD BE STRICKEN, HER
    MOTION TO STRIKE THE DEFENDANTS’ 56.1 STATEMENT DENIED, AND HER
     RESPONSES WITHOUT CITATION TO ADMISSIBLE EVIDENCE SHOULD BE
                          DEEMED ADMISSIONS



1
 Plaintiff erroneously claims that she did not receive a GWI in 2016 (Pl. Mem. pp. 18-19), when in fact the
records establish conclusively that she did. See Ex “L”: on July 1, 2016, her salary went from $106,828 to
$108,965, as a result of a General Wage Increase. See Pl. Resp. ¶188 – citing to no admissible evidence
disputing these facts.


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       Plaintiff untimely filed her memorandum of law on April 23, 2019, due on April 22, 2019

pursuant to this Court’s order dated January 23, 2019. She did not ask for an extension, provides

no explanation for the late reply, and it should be stricken accordingly. Regardless, in a failed

attempt to detract from the lack of merit to her case, Plaintiff spends the first page of her

memorandum requesting that this Court strike Defendants’ Rule 56.1 Statement. This request

should be denied. Defendants’ 56.1 Statement contains separate, short and concise statements of

fact, with citations to admissible evidence as the basis for each statement and factual assertion in

accordance with Rule 56.1(a) and this Court’s rules. It is Plaintiff’s protracted responses that

violate the rules, as they improperly contain legal argument, inadmissible hearsay, and often fail

to cite to any admissible evidence in violation of Local Rule 56.1(c)-(e). “ Responses of this

nature, which do not point to any evidence in the record that may create a genuine issue of material

fact, do not function as denials” and such responses by Plaintiff (see, e.g., Pl. Resp. e.g., ¶¶4, 22,

24, 25, 26 27, 27, 28, 30, 31, 33, 36, 48, 49, 50, 52, 53, 54, 55, 57, 62, 63, 67, 68, etc.) should be

“deemed admissions of the stated fact.” Senno v. Elmsford Union Free Sch. Dist., 812 F. Supp. 2d

454, 458 (S.D.N.Y. 2011). Further, the declarations submitted by Plaintiff improperly contain

speculation, innuendo, inadmissible hearsay and are otherwise unsupported by evidence in the

record in violation of Fed R. Civ. P. 56(c)(4) and Local Rule 56.1(d) and should be disregarded.

                                              II.
                                           ARGUMENT

       Without any direct or indirect evidence of discrimination or retaliation in this case, Plaintiff

argues that she should be given the “benefit of the doubt” in light of case law denoting that it is

often difficult to ascertain a Defendant’s discriminatory intent (Pl. Mem. pp. 8-9). However, as

this Court has repeatedly stated, summary judgment is the time to “put up or shut up” (Villar v.

City of New York, No. 09-cv-7400 (DAB), 135 F. Supp. 3d 105, 119-120 (S.D.N.Y.)(internal

citations omitted), and “[it] is now beyond cavil that summary judgment may be appropriate even




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in the fact-intensive context of discrimination cases,” Abdu-Brisson v. Delta Air Lines, Inc., 239

F.3d 456, 466 (2d Cir. 2001).

    A. Plaintiff’s claims of race, age and gender discrimination are baseless and do not
       survive summary judgment under Title VII, the ADEA, or Sections 1981 and 1983

        Plaintiff fails to make out a prima facie case: In support of her contention that she has

sustained her burden to establish prima facie cases of age, race and gender discrimination with

respect to Brown’s 2014 promotional decisions2, Plaintiff emphasizes that “the burden is not

onerous” (Pl. Mem. at 11-12), and says she has shown that she was qualified for the two

positions at issue and that the two individuals Brown selected were slightly younger, male, and

not African-American (id.). Plaintiff argues that these actions “occurred under circumstances

giving rise to an inference of discrimination” based on these facts alone, despite that: (i) the

selected candidates were also qualified and had relevant experience for these two positions (see

e.g., Pl. Dep, Ex B, 67, 83:1-4; 117-121); (ii) Brown is in all the same protected classes as

Plaintiff and promoted her roughly two years earlier (Ex L, P)3, and (iii) there is no evidence of

discriminatory animus by Brown (Pl. Mem. pp. 12-13). These circumstances do not support an

inference of discrimination.

        Plaintiff has otherwise failed to demonstrate pretext: Even if Plaintiff met her initial

burden, she has utterly failed to demonstrate that Defendants’ legitimate, non-discriminatory

reasons for these decisions were pretexts for discrimination. She merely proffers the following

in support of a pretext argument (id. at 13-14): 1) Brown “untruthfully testified to giving

Plaintiff a second interview”; 2) Brown gave “non-consistent reasons for the promotions”



2
 Plaintiff concedes that she is not challenging the TA’s decision to appoint Joseph DiLorenzo to the PMO
position under Title VII, but asserts this claim under Section 1981 (Pl. Mem. p. 6, fn. 1).
3
 Contrary to Plaintiff’s assertion, citing, Carlton v. Mystic Transp., Inc., 202 F.3d 129, 137-138 (2d Cir.
2000) (wherein 7 years passed in between firing and hiring in Carlton), the “same actor inference” is
particularly strong in this case where only two years had passed. See, e.g., Rikhy v. AMC Comp. Corp.,
No. 01 Civ. 7007(WHP), 2003 U.S. Dist. LEXIS 4804, *2-3, 13-14 (S.D.N.Y. Mar. 28, 2003).


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because she alleges Brown told Plaintiff that the “position was not the right fit for her”; 3) The

panel did not ask a question about technology; and 4) Deborah Chin should not have been on

the panel even though she has a “bias against Plaintiff””. First, Brown does recall giving second

interviews to all four candidates referred by the panel for the PMO position, including Plaintiff,

and she had interview notes of these interviews (bates 3794-3795 produced in discovery to

Plaintiff); see Ex C at 35:15; 42:4 (errata corrections). Regardless, whether Plaintiff had a

second interview or not is immaterial to this case. See Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 248 (1986)(“[f]actual disputes which are irrelevant or unnecessary” to the claims at issue

“will not be counted.”). It is undisputed that while the panelists referred Plaintiff as one of the

top four candidates, she was not ranked first by anyone (see Chin Dec. ¶ 29-30; Franceschini

Dec. Ex G [TA 878-881] and Pl. Resp. ¶86 [citing to no admissible evidence]).

       Second, even assuming, arguendo, that Brown did say words to the effect of: “this is not

the right for you” with respect to DiLorenzo’s job, such a statement is similarly immaterial and

nonetheless entirely consistent with Brown’s explanation that she chose Dilorenzo based on,

inter alia, his years of experience in stations and his technical background (which Plaintiff did

not have) (see Ex C at 26-27; Ex G). Third, Plaintiff apparently seeks to undercut Brown’s

business judgment that she wanted individuals with technical backgrounds in certain program

areas, by stating that the panelists did not ask a question relating to technology – again an

irrelevant point even if true. Not-withstanding, the panelists clearly considered the individuals’

resumes (including their educational/technical backgrounds), in assessing candidates. See Chin

Dec.¶20-21; see Ex G (TA 878-881). Fourth, Plaintiff statements regarding Chin’s involvement

in the panel are confusing. Apparently she is arguing that Chin was “biased” against her because

of their direct work-related experience, and seeks to undermine their interactions (Pl. Dec. ¶40-

45), despite testifying that she worked “extensively” with Chin, that they attended meetings

together “frequently”, that Chin had knowledge of Plaintiff’s “performance more than anything”



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(see Ex B, Pl. Dep. at 105). The undisputed (id.) fact is that Chin did not recommend Plaintiff

for the job based on weaknesses she perceived in her performance, having nothing to do with

Plaintiff’s age, race or gender. Plaintiff also argues that Defendant Brown has “no African

American females over the age of 60 as a Senior Director reporting to her” (Pl. Mem. at 15) –

an utterly unavailing fact even if assumed to be true. Brown’s hiring decisions with respect to

other positions are not at issue in this case.4 Regardless, Defendants have shown, in light of this

improper insinuation, that Brown’s highest direct report is a 64 year-old African-American male

and was promoted twice by Brown (in 2013 and 2016)(see Pl. Resp. ¶105), and that Brown has

advanced numerous older and/or African-American and/or female applicants and employees.

See Ex Z; see Brown Dep., Ex C at 190-216.

          Plaintiff’s Section 1981 and 1983 claims fail: Apparently in support of an argument that

    she has sustained her burdens under Sections 1981 and 1983 (Pl. Mem at 16), Plaintiff states

    that Vice President, Subways Joseph Leader was “indifferent” to her complaints of

    discrimination, contradicting her explicit testimony that she “did not discuss discrimination

    with Joe Leader” at her August meeting with him (see Pl. Dep. Ex B at 125-127), and ignoring

    the fact that her complaint to him about Chan’s 2014 MPR was immediately forwarded to the

    TA’s Department of EEO & Diversity (EEO)(see Ex II). The record demonstrates that EEO

    conducted a nearly 7-month investigation into Plaintiff’s claims, including interviewing

    Plaintiff, Brown, all interview panelists and other identified witnesses, and reviewing all of the

    evidence (Ex G). Plaintiff speciously argues that Brown “should have” contacted EEO as soon

    as Plaintiff objected to Brown’s decision to hire Chan, despite the fact that she did not to

    complain to Brown about discrimination or talk to Brown about her issues with Chan (see e.g.,

    Pl. Dep. at 129-131; e.g., EE) and that EEO addressed these complaints. All of these claims


4
 Further, the declarations speculating about “favoritism” in the Capital Programs unrelated to any protected
ground (see, e.g., Ken Pierce Dec; Earl Jackson Dec.) should be disregarded as immaterial and inadmissible.


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    must be dismissed.5

      B. PLAINTIFF’S RETALIATION CLAIMS DO NOT SURVIVE SUMMARY
         JUDGMENT
         In support of her claims of retaliation, Plaintiff alleges three acts of retaliatory

discrimination (Pl. Mem. at 18): (1) Brown and Chan’s discriminatory reduction of her yearly

Managerial Performance Reviews (“MPRs”); (2) Defendant Brown’s denial of Plaintiff’s civil

service designation; and (3) Defendants Brown and Chans’ creation of a retaliatory hostile work

environment for plaintiff. i) Plaintiff has failed to establish temporal proximity with respect

to any purportedly “adverse employment action”: As Plaintiff states (Pl. Mem. at 22), to

establish the necessary causal nexus for retaliation, she must show either that the protected activity

was closely followed by the act, disparate treatment of other employees who engaged in similar

conduct, or direct evidence of retaliatory animus. See Hunter v. Police Athletic League, Inc., No.

09 Civ. 997 (DAB), 2011 U.S. Dist. LEXIS 31243, *20-25 (S.D.N.Y. March 23, 2011). Plaintiff

has not shown any of the above.        Plaintiff misleadingly and unsuccessfully relies on a Notice of

Charge of Discrimination dated May 18, 2015 addressed the TA Law Department to try to establish

that a purportedly “adverse” action in this case, i.e., the first overall “Good” MPR she received by

Chan, closely followed her protected activity (Pl. Mem. at 22; Def. Br. at 14). However, according

to records, the 2014 MPR was (at the latest) prepared by Chan on May 15, 2015, prior to the date

on the Notice, and Plaintiff’s complaints of retaliation against Chan to EEO well pre-date this

MPR (see e.g., Pl. Dep. Ex B at 139:1-12; Ex EE). Even if this erroneous theory (Pl. Mem. at 22)

were accepted, however, her receipt of an overall “Good” review is not “adverse” (see Def. Br. at

13-14), nor is it “hostile”, which Plaintiff appears to acknowledge. In fact, she argues that

Defendants strategically retaliated against her over the course of three years by lowering her

5
 To the extent there any age-related claims against Brown and Chan unrelated to her promotions, Plaintiff
has failed to present any facts supportive of such claims, such as identifying a single similarly-situated
younger employee compared to whom she was disparately treated. See Woods Enlarged City Sch. Dist.
of Newburgh, 473 F. Supp. 2d 498, 524 (S.D.N.Y. 2007). These claims should be deemed abandoned and
dismissed.


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ratings from “Excellent” to “Needs Improvement”, so that she would not get a “wage increase” in

2017, despite having received one in 2015 and 2016. This argument is legally unavailing, and not

supported by any evidence. See, e.g., Hunter, 2011 U.S. Dist. LEXIS (summary judgment granted

where Plaintiff’s salary was reduced thirteen months after her first complaint). In addition, Chan

was a new manager, had never rated Plaintiff as “Excellent”, and was entitled to set his own

performance expectations for his reports. Thus, the fact that Plaintiff previously received overall

“Excellent” reviews from other managers does not create an inference of retaliation (Def. Br. at

14-15), and the fact that her issues with prior management began before she complained of

discrimination further undermine such an inference (see e.g., Ex V, Kauffman Dec).

       Regarding Brown’s decision not to recommend Plaintiff for permanent appointment in

the “Administrative Staff Analyst” title, Plaintiff has failed to show how this was materially

adverse (see Def. Br. at 21; Fraceschini Dec. ¶32-34), since she continued to benefit from civil

service protections in her underlying non-competitive civil service title of Superintendent (to

which she was placed in April 2015 from her provisional title of “Administrative Manager” in

order to protect her from being displaced by a civil service list)(id. at ¶21-34). Plaintiff retained

the same job title, responsibilities and pay. Even assuming this could be adverse, arguendo,

Brown made this decision more than two years upon becoming aware of Plaintiff’s complaint

against her suggesting no temporal proximity (Def. Br. at 21).

 ii.   Plaintiff has failed to allege disparate treatment

       Plaintiff makes no suggestion of disparate treatment by Chan or Brown.                  Quite

 conversely, she testified that she did not know how Chan managed other employees (Pl. Dep.

 at 188; 196-197; 217) or what Brown assigns others in the Division (Pl. Dep. Ex B [212:17-23).

 Moreover, she submits statements by other individuals Chan supervised who are outside of her

 protected classes (notably two significantly younger males), who did not engage in protected

 activity, who complained about the same management style he employed with them unrelated



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to Plaintiff (see Jackson Dec and Weinzimmer Dec., e.g. ¶14-15)). The evidence also shows

that Chan rated other employees similarly and even terminated another significantly younger,

Caucasian male for poor performance (see Ex ZZ), contradicting Plaintiff’s theory that she was

targeted based on retaliatory or discriminatory animus.

iii.   Plaintiff has utterly failed to show that Defendants’ non-discriminatory legitimate
       reasons for its actions were false or pretext for discrimination or retaliation:

       The undisputed records are replete with Defendants’ legitimate, non-discriminatory

reasons for Plaintiff’s MPRs and other actions. Plaintiff’s 2014 MPR was based on input from

Plaintiff’s manager for most of 2014, and based on Chan’s own experience with Plaintiff,

wherein they both felt, among other things, that she was being uncooperative and withholding

information (Ex’s, KK, MM, T). Plaintiff had three marginals on her otherwise overall “Good”

MPR for the year 2015 (Ex OO) because, among other things, she missed deadlines on a long-

term assignment (Ex PP), had to attend a respectful workplace course (Ex OO), and had

incidents wherein she failed to properly respond to Brown with information urgently requested

(see e.g., Ex EE, TA 808-811; Ex VV, TA 1740-45; Ex C at 310-316). In 2016, when there

was a new rating system (there were no “good” or “poor” ratings, but “Meets Expectations” and

“Needs Improvement”), Plaintiff received a “Needs Improvement” on her review (administered

in April 2017)(Ex SS), based on her continued failure to perform the tasks assigned to her and

her continued disrespectful behavior. See e.g., Ex VV, TA297-299 (objections to the

Communication Strategy assignment given to her in August 2016); Ex RR. By 2017, Plaintiff’s

performance and attitude had deteriorated, and she was disrespectful to Chan in front of other

employees (Ex’s TT, UU).

       When Brown declined to recommend Plaintiff for permanent appointment to the

“Administrative Staff Analyst” title, it was the result of these performance issues at that time,

in addition to her belief that it would give Plaintiff “an opportunity to get employment in another




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 area” having said that she was unhappy in the unit (Brown Dep., Ex C at 363:11-18). Plaintiff

 has failed to present evidence suggesting that any of these stated reasons are false, but merely

 relies on her failing argument of temporal proximity (Pl. Mem. at 24), and, attempts to provide

 evidence of inconsistency in the Defendants’ explanations.        However, all the purported

 “inconsistent” explanations she discusses occurred prior to Plaintiff’s first complaint of

 discrimination in September 2014, have nothing to do with her performance issues and clearly

 do not suggest retaliatory animus (see Pl. Mem. at 24-25, e.g., “Brown attempted to “appease”

 Plaintiff by recommending her for the NYC Leadership institute the same day as she gave

 Plaintiff the bad news that she was not going to promote her” and “Brown’s statement is voided

 by her reprimand to Plaintiff that “I told you not to go to my boss showing the animus Brown

 has toward Plaintiff for complaining to SVP Leader about not being promoted and wanting a

 transfer out of Capital Programs”). Her retaliation claims must be dismissed.

iv)    Plaintiff’s allegations are clearly insufficient to show hostile work environment

      Plaintiff’s allegations of retaliatory or discriminatory hostile work environment based on

negative performance reviews, work-related emails and vacation request denials fail as a matter of

law (Pl Mem. at 20-23; see Def. Br. at 23-24). There is no evidence that Plaintiff suffered a work

environment pervaded by “discriminatory [or retaliatory] intimidation, ridicule, [or] insult.” See

Villar v. City of New York, 135 F. Supp. 3d at *6 (internal citations omitted). Though Plaintiff’s

relationship with Chan may have been unpleasant, and their work correspondence at times tense,

all the harsh comments she asserts he made concerned work scrutiny and her job performance and

the assignments, and were completely unrelated to any complaint she filed or her race, gender

and/or age.                          CONCLUSION

       For all of the foregoing reasons, Defendants’ motion for summary judgment should be

 granted in its entirety, and for such other and further relief as this Court may deem just and

 proper.


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Dated: Brooklyn, New York.
       May 2, 2019                            Respectfully submitted,
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